      Case 1-19-40338-nhl         Doc 55   Filed 10/28/19     Entered 10/28/19 16:06:45




                                                     U.S. Department of Justice

                                           Office of the United States Trustee
                                           Eastern District of New York
                                             Brooklyn Division
_____________________________________________________________________________
                                                            U.S. Federal Office Building
                                                            201 Varick Street, Suite 1006
                                                            New York, NY 10014
                                                            Phone: 212-510-0500
                                                            Facsimile: 212-668-2255

                                                            October 28, 2019

Via ECF
Honorable Nancy H. Lord
United States Bankruptcy Judge
United States Bankruptcy Court for the Eastern District of New York
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East
Brooklyn, NY 11201

Re:    35 North Elliot LLC, Case No. 19-40338 (NHL)

Dear Judge Lord:

        With regard to the Application for Compensation (ECF Doc. No. 48) filed by the Law
Offices of Ira R. Abel as counsel to the Debtor, the United States Trustee and the Law Offices of
Ira R. Abel have agreed, subject to Court approval, to a $1,890.00 reduction in the fees and a
$4.27 reduction in expenses in order to resolve certain objections raised by the United States
Trustee. Accordingly, the Law Offices of Ira R. Abel will now seek $21,252.00 in fees and
reimbursement of expenses of $17.90. The United States Trustee will not object to this amended
application.


                                                    Very truly yours,

                                                    WILLIAM. K. HARRINGTON
                                                    UNITED STATES TRUSTEE, REGION 2

                                                    By: /s/ Rachel Wolf
                                                    Rachel Wolf
                                                    Trial Attorney

cc: Ira Abel, Esq. (via E-mail)
